          Case 3:23-cv-02637-JD Document 10-1 Filed 06/01/23 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                                          cand.uscourts.gov




                  NOTICE OF ELIGIBILITY FOR VIDEO RECORDING


       This case is assigned to a judge who participates in the Cameras in Courtroom Pilot Project.
See General Order 65 and cand.uscourts.gov/cameras. The parties’ consent is required before any
proceedings in this case may be recorded. If a party, the presiding judge, or a member of the media
requests that a proceeding be recorded, consent of the parties will be presumed unless a party
submits an Objection to Request for Video Recording form as directed by the Cameras in the
Courtroom Procedures.


       Parties objecting to video recording are asked, for research purposes, to communicate to
the Court the reasons for declining to participate. If you decline to participate, you should candidly
convey the reasons for your decision. Whether you agree to participate or decline to participate
will have no effect on your case whatsoever.




                                                              _________________
                                                              Clerk, Clerk of Court
